        Case 1-24-41689-nhl                  Doc 48     Filed 12/12/24        Entered 12/12/24 13:02:23




RAVERT                         PLLC

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(Via ECF and Email)
December 12, 2024
Hon. Nancy Hershey Lord
United States Bankruptcy Judge
United States Bankruptcy Court, Eastern District of New York
270 Cadman Plaza East
Brooklyn, New York 11201
Re: In re Royal Development, Chapter 11 Case No. 24-41689 (NHL): Status Letter
Dear Judge Lord:
This firm represents 723 Bristol Street Funding LLC (“Bristol”), the mortgagee and senior
secured creditor on the property of the above-referenced Debtor. On Tuesday, December 17,
2024, this Court is holding a status conference and this letter is to inform the Court as to status as
Bristol sees it. As this Court is aware, this case was from the outset contemplated to be a
liquidating chapter 11 with a sale of the Debtor’s property. Although things started fairly
quickly they appear to have slowed considerably. At the August 20, 2024 status conference, the
Court told the Debtor to use the October 8, 2024 date as the return date for bid procedures.
When the Debtor stated that it did not yet have a stalking horse bidder, the Court further advised
that a motion to sell with bid procedures could be filed without having a stalking horse bidder
and could include a provision in case one is found. That motion was never filed now four
months later. At the October 8th hearing, the Court asked about the bid procedures and was told
the motion was drafted. That was more than two months ago and they still are not filed. Further,
the claim objection discussed on the record as drafted also still has not been filed.
This is not intended as a criticism of Debtor’s counsel, who is a highly respected attorney. This
is intended to make clear that in a case where there is ample equity, delays like this might not
matter. This is not one of those cases. There is a large first mortgage on this property and, while
the Debtor’s property has substantial value over the current debt, that will not be true for much
longer. Accordingly, we request that the Court urge the Debtor in the interest of a positive
outcome in this case for all parties, to move this case quickly to a sale and confirmation of a
liquating plan.
Bristol and undersigned counsel thank your Honor for her considerations regarding the
foregoing.
Respectfully,
/s/ Gary O. Ravert
Gary O. Ravert




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